     Case 1:14-cv-00447-LG-RHW Document 410 Filed 01/26/18 Page 1 of 4




               IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                        SOUTHERN DIVISION

THOMAS JONES, et al., on
behalf of themselves and
others similarly situated                                             PLAINTIFFS

v.                                          CAUSE NO. 1:14CV447-LG-RHW
                                     CONSOLIDATED WITH 1:15CV1-LG-RHW
                                    CONSOLIDATED WITH 1:15CV44-LG-RHW

SINGING RIVER HEALTH
SYSTEM, et al.                                                      DEFENDANTS

                        ORDER AND FINAL JUDGMENT

      This cause came to be heard upon the parties’ request for approval of the

[163-1] Stipulation and Agreement of Compromise and Pro Tanto Settlement. The

Court conducted its initial fairness hearing on May 16-17, 2016. After the United

States Court of Appeals for the Fifth Circuit remanded this case for additional

consideration, this Court conducted a supplemental fairness hearing on January 22,

2018. Having read the parties’ briefs, the briefs of the objectors, and having

reviewed the evidence submitted in the case, as well as having heard and

considered all of the arguments made at the two fairness hearings, the Court

hereby orders and adjudges as follows:

      (a)    The settlement, as appears in Document [163-1], incorporated herein

by reference, is fair, reasonable, and adequate, is ordered finally approved, and

shall be consummated in accordance with its terms and provisions.

      (b)    The consolidated actions Jones, et al. v. Singing River Health Services

Foundation, et al., Case No. 1:14-cv-447-LG-RHW, Cobb, et al. v. Singing River
     Case 1:14-cv-00447-LG-RHW Document 410 Filed 01/26/18 Page 2 of 4




Health System, et al., Case No. 1:15-cv-1-LG-RHW, and Lowe v. Singing River

Health System, et al., Case No. 1:15-cv-44-LG-RHW (collectively, “Federal Action”)

are proper class actions for purposes of settlement under Fed. R. Civ. P. 23, and the

following mandatory settlement class is certified pursuant to Fed. R. Civ. P.

23(b)(1)(A):

      All current and former employees of Singing River Health System who
      participated in the Singing River Health System Employees’ Retirement
      Plan and Trust, including their spouses, alternate payees, death
      beneficiaries, or any other person to whom a plan benefit may be owed.

      (c)      The Court finds and determines that the notice procedure afforded

adequate protections to the Settlement Class Members and provided the basis for

the Court to make an informed decision regarding approval of the Settlement based

on the response of Settlement Class Members. The Court finds and determines that

the notices provided in this case satisfied the requirements of law and due process.

      (d)      The Court directs entry of final judgment as to the consolidated

plaintiffs’ claims against Defendants Singing River Health System (“SRHS”),

Singing River Health Services Foundation, Singing River Health System

Foundation (f/k/a Coastal Mississippi Healthcare Fund, Inc.), Singing River

Hospital System Foundation, Inc., Singing River Hospital System Employee Benefit

Fund, Inc., Board of Trustees for the Singing River Health System, and Singing

River Hospital System (“Other Singing River Defendants”), and Defendants Michael

J. Heidelberg, Morris G. Strickland, Ira S. Polk, Michael Crews, Tommy L. Leonard,

Michael D. Tolleson, Lawrence H. Cosper, Allen L. Cronier, Marva Fairley-Tanner,

Grayson Carter, Jr., Gary C. Anderson, G. Chris Anderson, Gary Anderson, Kevin

                                           -2-
     Case 1:14-cv-00447-LG-RHW Document 410 Filed 01/26/18 Page 3 of 4




Holland, Martin D. Bydalek, William C. Descher, Stephen Nunenmacher, Joseph P.

Vice, Eric D. Washington, Hugo Quintana, and Stephanie Barnes Taylor.

      (e)      All claims, rights and causes of action, damages, losses, liabilities and

demands of any nature whatsoever, whether known or unknown, that are, could

have been or might in the future be asserted by the Trust, any Plaintiffs or any

member of the Settlement Class (whether directly, representatively or in any other

capacity), against the following Released Persons, in connection with or that arise

out of any acts, conduct, facts, transactions or occurrences, alleged or otherwise

asserted or that could have been asserted in the Actions related to the failure to

fund the Trust and/or management or administration of the Plan shall be

compromised, settled, released and discharged with prejudice:

            1. the Jackson County Board of Supervisors, Jackson County as a political
               subdivision of the State of Mississippi, the individual members of the
               Board of Supervisors in their official capacities and in their individual
               capacities and for the agents and employees of Jackson County,
               Mississippi;

            2. Singing River Health System, its current and former Board of Trustees
               (individually and in their official capacities), agents, servants and/or
               employees;

            3. Singing River Health Services Foundation, Singing River Health
               System Foundation f/k/a Coastal Mississippi Healthcare Fund, Inc.,
               Singing River Hospital System Foundation, Inc., Singing River Hospital
               System Benefit Fund, Inc., and Singing River Hospital System and all
               of their current and former employees, agents, and inside and outside
               counsel and their firms; and

            4. current and former Trustees of the Trust (in their individual and official
               capacities).

      (f)      The Plaintiffs and/or members of the Settlement Class are hereby

permanently barred and enjoined from instituting or prosecuting, either directly or
                                            -3-
     Case 1:14-cv-00447-LG-RHW Document 410 Filed 01/26/18 Page 4 of 4




in any other capacity, any action that asserts any claims released under the terms

of the Settlement Agreement.

      (g)    Without affecting the finality of this Order and Judgment in any way,

this Court grants continuing authority and exclusive jurisdiction over

implementation of the Settlement, and over enforcement, construction and

interpretation of the Stipulation to the Jackson County Chancery Court in Cause

No. 2015-0060-NH.

      (h)    The Court approves the award of attorneys’ fees and expenses as well

as incentive fees as set forth in its order regarding same, Document [287], and

grants continuing jurisdiction over the payment of those fees to the Jackson County

Chancery Court in Cause No. 2015-0060-NH. The Court will consider class

counsel’s supplemental request for attorneys’ fees, Document [378], at a later time.

      SO ORDERED AND ADJUDGED this the 26th day of January, 2018.


                                       s/   Louis Guirola, Jr.
                                       LOUIS GUIROLA, JR.
                                       UNITED STATES DISTRICT JUDGE




                                            -4-
